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 ADAMS

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 United States of America,                    )
                                              )       Case No. 1:00CR470
                                              )
                Plaintiff,                    )
                                              )
        vs.                                   )       ORDER
                                              )
 Gerardo Marin,                               )
                                              )
                Defendant(s).                 )



        A report and recommendation of Magistrate Judge George J. Limbert has filed in this
 matter recommending, based upon Defendant’s admissions to the supervised release violations,
 that the Court find Defendant in violation. The Court hereby adopts Magistrate Judge George J.
 Limbert’s Report and Recommendation.
        Defendant subsequently signed a waiver of hearing to modify the conditions of his
 supervised release. The Court accepts the waiver and sentences Defendant to participate in the
 Home Confinement Program with electronic monitoring for a period of 120 days, to commence
 no later than 30 days from the date of this order. Defendant is required to remain in his
 residence unless given permission, in advance, by the Probation Officer to be elsewhere.
 Defendant may leave his residence to work and receive medical treatment and to attend religious
 services.. Defendant shall wear an electronic monitoring device, follow electronic monitoring
 procedures and submit to random drug and alcohol tests as specified by the Probation Officer.
 Defendant is to pay the cost of Home Confinement with electronic monitoring. Payment is to be
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 made as directed by the supervising Home Confinement officer.




        IT IS SO ORDERED.




 Date: May 2, 2008                             S/John R. Adams
                                             John R. Adams
                                             U.S. District Judge
